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IN THE UNITED sTATEs DISTRICT coURT
FOR THE wESTERN DIsTRIcT 0F TENNESSEESMLYEI PH 2`32
wEsTERN DIVISION
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WILLIAM M. LINEBERRY,
Petitioner,

vs. No. 05-2104~Ml/V

WARDEN, FMC*BUTNER,

Respondent.

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ORDER OF DISMISSAL

 

Petitioner Willian\M. Lineberry, Bureau of Prisons inmate
registration number l6394-076, an inmate at the Federal Medical
Center in Butner, North Carolina, filed a pro §§ petition pursuant
to 28 U.S.C. § 2241 on January 31, 2005. The Court issued an order
on April 21, 2005 directing the petitioner, within thirty {30)
days, to file a properly completed in §Q;m§ pauperis affidavit
demonstrating his indigency, along with an inmate trust fund
account statement, or pay the habeas filing fee. Lineberry has not
complied with, or otherwise responded to, this order, and the time

set for compliance has expired.

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with Faule 58 and/or 79(3) FHCP on '

   

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The April 2l, 2005 order provided, in pertinent part,
that “[f]ailure to timely comply with any requirement of this order
will result in dismissal of the petition without further notice for
failure to prosecute.” 04/21/05 Order at 2. Accordingly, the Court
DISMISSES this action without prejudice, pursuant to Fed. R. Civ.
P. dl(b), for failure to prosecute.

IT rs so oRDERED this 61 day af May, 2005.

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ON HIPPS MCCALLA
UNI D STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02104 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

William Mark Lineberry
FMC BUTNER
16394-076

P.O. Box 1600

Butner, NC 27509

Honorable J on McCalla
US DISTRICT COURT

